 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Corridor Medical Services, Inc.

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           7      4      –      2      7        7    6         7   7     2

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       1900 Dutton
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       San Marcos                          TX       78666
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                                                                                       from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
Debtor Corridor Medical Services, Inc.                                                  Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                           4/01/19 and every 3 years after that).

                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return or if
                                                             all of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                             Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                             form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                             Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                        When                      Case number
     years?                                                                                              MM / DD / YYYY

                                                District                                        When                      Case number
     If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
     separate list.
                                                District                                        When                      Case number
                                                                                                         MM / DD / YYYY



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
Debtor Corridor Medical Services, Inc.                                                   Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor Correctional Imaging Serives, LLC                      Relationship Affiliate
    affiliate of the debtor?
                                                  District Western District of Texas Austin Divisio When
    List all cases. If more than 1,                                                                                         MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor CMMS Lab, LLC                                        Relationship Affiliate

                                                  District Western District of Texas Austin Divisio When
                                                                                                                            MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
Debtor Corridor Medical Services, Inc.                                                   Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 11/30/2018
                                                      MM / DD / YYYY

                                          X /s/ Stephen Nelson                                      Stephen Nelson
                                              Signature of authorized representative of debtor      Printed name

                                          Title President

18. Signature of attorney                X /s/ Stephen W. Sather                                                  Date     11/30/2018
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Stephen W. Sather
                                            Printed name
                                            Barron & Newburger, P.C.
                                            Firm name
                                            1212 Guadalupe, Suite 104
                                            Number          Street



                                            Austin                                                     TX                   78701
                                            City                                                       State                ZIP Code


                                            (512) 476-9103                                             ssather@bn-lawyers.com
                                            Contact phone                                              Email address
                                            17657520                                                   TX
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
 Fill in this information to identify the case:
 Debtor name        Corridor Medical Services, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and          Name, telephone         Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email       (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of              debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor                professional          unliquidated,   secured, fill in total claim amount and
                               contact                 services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total            Deduction       Unsecured
                                                                                             claim, if        for value       claim
                                                                                             partially        of
                                                                                             secured          collateral
                                                                                                              or setoff
1   Pioneer Bank                                                                              $2,205,666.67           $0.00 $2,205,666.67
    100 Creek Rd.
    Dripping Springs, TX
    78620



2   Cherub Reeves                                      Stock Buy Back                                                         $2,160,000.00
    350 Summer Hills
    Wimberley, TX 78676




3   Cirrus DX, Inc.                                    Goods                                                                  $1,828,401.78
    9901 Belward Campus
    Drive, Ste. 300
    Rockville, MD 20850



4   Meridian Technology                                Goods and                                                                $718,699.09
    6574 S. Quemoy                                     Services
    Aurora, CO 80016




5   Sterling National Bank                             Loan                                    $678,520.53            $0.00     $678,520.53
    500 Seventh Ave., 3rd
    Floor
    New York, NY 10018




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 1
Debtor       Corridor Medical Services, Inc.                                      Case number (if known)
             Name


 Name of creditor and           Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor              professional          unliquidated,   secured, fill in total claim amount and
                                contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                      government                            calculate unsecured claim.
                                                      contracts)
                                                                                            Total           Deduction        Unsecured
                                                                                            claim, if       for value        claim
                                                                                            partially       of
                                                                                            secured         collateral
                                                                                                            or setoff
6   De Lage Landen                                    Goods and                                                                $499,167.09
    Financial Services, Inc.                          Services
    P.O. Box 41602
    Philadelphia, PA 19101



7   Par                                               MCA                                     $485,548.50            $0.00     $485,548.50




8   Rapid Radiology                                   Goods                                                                    $424,277.18
    6548 Commanche Trail,
    Ste. 501
    Austin, TX 78732



9   Quest Diagnostics -                               Goods and                                                                $404,935.58
    CMMS Lab                                          Services




10 Lois Goodman                                       Loan                                                                     $370,000.00




11 RTR                                                MCA                                     $281,250.00            $0.00     $281,250.00




12 Henry Schein                                       Goods and                                                                $276,068.77
   Dept CH 10241                                      Services
   Palatine, IL 60055




13 Advanced                                           MCA                                     $269,952.00            $0.00     $269,952.00




Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
Debtor       Corridor Medical Services, Inc.                                    Case number (if known)
             Name


 Name of creditor and         Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing             number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                         creditor              professional          unliquidated,   secured, fill in total claim amount and
                              contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction        Unsecured
                                                                                          claim, if       for value        claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
14 BankUnited SBF                                   Loan                                    $269,471.69            $0.00     $269,471.69
   7765 NW 148 Street
   Miami Lakes, FL 33016




15 Clinical Pathology Labs-                         Goods and                                                                $257,799.21
   Ft Worth                                         Services
   PO Box 141669
   Austin, TX 78714-1669



16 Knight Capital Funding                           MCA                                     $189,141.00            $0.00     $189,141.00
   9 E. Loockerman St.,
   Suite 3A-543
   Dover, DE 19901



17 Great America Financial                          Goods and                                                                $180,408.38
   Services                                         Services
   625 First Street
   Cedar Rapids, IA 52401-
   2030

18 Emergent Connect                                 Goods and                                                                $140,594.50
   2121 Lohman's Crossing                           Services
   Suite 504
   Lakeway, TX 78734



19 Peripheral Vascular                              Goods and                                                                $135,900.00
   Associates                                       Services
   5047 Sherri Ann Road
   San Antonio, TX 78233



20 Radiology Association,                           Goods and                                                                $133,821.00
   P.A.                                             Services
   2 Daventry Lane
   San Antonio, TX 78257




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION
  IN RE:   Corridor Medical Services, Inc.                                         CASE NO

                                                                                  CHAPTER     11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/30/2018                                          Signature    /s/ Stephen Nelson
                                                                     Stephen Nelson
                                                                     President


Date                                                     Signature
1603 Babcock LLC
13750 San Pedro Ste B10
San Antonio, TX 78232



1st Merchant




3855 Business Park Partners LP
1314 Lake Street. Ste. 100
Fort Worth, TX 76102



Accushield, LLC
2030 Powers Ferry Road SE Suite 360
Atlanta, GA 30339



Ace Funding Source, LLC
366 North Broadway
Jericho, NY 11753



ACPS - The Surgicenter
12727 Kimberley Lane Suite # 306
Houston, TX 77024



Advanced




AFCO
5600 N. River Road Suite 400
Rosemont, IL 60018-5187



Affordix Data & Comm Services
2104 Roosevelt Drive Suite F
Dalworthing Gardens, TX 76013
Alberta Owen
1700 Brandywine Dr
Tyler, TX 75703



Alphagraphics
2150 W. Northwest Hwy Suite # 111
Grapevine, TX 76051



American Express
PO Box 360001
Fort Lauderdale, FL 33336-0001



American Portable Diagnostics Associatio
1065 Executive Parkway Dr Suite # 220
St. Louis, MO 63141-6367



American Proficiency Institute
P.O. Box 30516
Lansing, MI 48909-8016



Ancee Keeney
PO BOX 262
Fritch, TX 79036



Ann Harris Bennett - Harris County Tax
PO BOX 3547
Houston, TX 77253-3547



Any Lab Test Now Fort Worth
5512 Bellaire Dr. S. Suite J
Fort Worth, TX 76109



Arlene Felger
7913 Topo Chico Cir. Apt A
Brownsville, TX 78526
Arlington Independent School District
500 East Border, Suite 640
Arlington, TX 76010



Arthur Wegman
5402 Robin Rd.
Garland, TX 75043



Aspyra, LLC
705 SW 10th Street Suite 109
Blue Springs, MO 64015



AT&T Internet
P.O. Box 5014
Carol Stream, IL 60197



AT&T Mobility
PO BOX 6463
CAROL STREAM, IL 60197-6463



Atmos Energy - 255 & 280
P.O. Box 790311
St Louis, MO 63179



Atmos Energy - Lubbock Lab
PO Box 790311
 St. Louis, MO 63179-0311



Atmos Energy - Suite 240
PO Box 790311
St. Louis, MO 63179-0311



Atmos Energy - Suite 250
PO Box 790311
St. Louis, MO 63179-0311
Atmos Energy - Suite 260
P.O. Box 790311
St. Louis, MO 63179



Baker Donelson, PC
100 Light Street
Baltimore, MD 21202



Balcones Shred
ATTN: Accts Receivable
9301 Johnny Morris Rd.
Austin, TX 78724


BankUnited SBF
7765 NW 148 Street
Miami Lakes, FL 33016



Betty Dryer
10300 West Rocky Road
Crowley, TX 76036



Bexar County Tax Collector
P.O. Box 2903
San Antonio, TX 78299



Billy Thompson
40114 Roundup Road
Magnolia, TX 77354



Bio Rad Laboratories
P.O. Box 849740
Los Angeles, CA 90084



BioMerieux
PO Box 500308
St Louis, MO 63150-0308
BizDoc, Inc.
840 W. Rhapsody
San Antonio, TX 78216



BizDoc, Inc.-Dallas
PO Box 660831
Dallas, TX 75266-0831



Blue Cross Blue Shield
Attn: Cash Disbursements
Dept. 300 E. Randolph St.
Chicago, IL 60601-5099


Briarwood Group LTD
PO Box 2031
Tyler, TX 75702



Bridgestone America, Inc
PO Box 81108
Cleveland, OH 44181



Briggs Healthcare
4900 University Ave Ste 200
West Des Moines, IA 50266



Capshaw Capital
4708 67th St.
Lubbock, TX 79414



Carrizales Detention Center
Carrizales Detention Center FM 511
Olmito, TX 78575



CenturyLink
PO Box 4300
Carol Stream, IL 60197-4300
CenturyLink- 264B
PO Box 91155
Seattle, WA 98111-9255



Cepheid
904 Caribbean Drive
Sunnyvale, CA 94089



Cert US Bank, N.A.
6515 East 82nd St., Ste. 209
Indianapolis, IN 46250



Change Healthcare
P.O. Box 572490
Murray, UT 84157



Channel Health
4322 Harding Pike, Suite 417
Nashville, TN 37205



Cherub Reeves
350 Summer Hills
Wimberley, TX 78676



Christus Santa Rosa
PO Box 846131
Dallas, TX 75284-6131



Cirrus DX, Inc.
9901 Belward Campus Drive, Ste. 300
Rockville, MD 20850



Citi Cards
P.O. Box 6406
The Lakes, NV 88901-6406
City of Del Rio
109 West Broadway
Del Rio, TX 78840



City of Laredo--Tax Department
PO Box 6548
Laredo, TX 78042-6548



Clinical Pathology Labs- Ft Worth
PO Box 141669
Austin, TX 78714-1669



Clinical Pathology Labs- Waco
PO Box 141669
Austin, TX 78714-1669



Clinical Pathology Labs-Tyler
PO Box 141669
Austin, TX 78714-1669



Clyde's Pest Control
209 W. San Antonio St.
San Marcos, TX 78666-5512



Collimare, LLC
13401 W. 43rd Dr. Suite 7
Golden, CO 80403-7625



Commerce Bank - Enterprise MC
PO Box 846451
Kansas City, MO 64184-6451



Complete Business Solutions
20 N. 3rd Street
Philadelphia, PA 19106
Concentra
PO Box 9005
Addison, TX   75001



CopyServ
1900 S. Salinas Blvd
Donna, Tx 78537



Country Inn & Suites
1560 IH 35 South
San Marcos, TX 78666



Covenant Health System
 PO BOX 677044
Dallas, TX 75264-7044



CRCA
1748 W. Katella Avenue Suite 114
Orange, CA 92867



Dan Miller Air Conditioning Company
PO Box 551588
Dallas, TX 75355



Data Innovations




De Lage Landen Financial Services, Inc.
P.O. Box 41602
Philadelphia, PA 19101



Decatur Nursing & Rehab.
605 W. Mulberry
Decatur, TX 76234
Del Sol Medical Center
Attn Gracy Urias
10301 Gateway West Blvd
El Paso, TX 79925


Dell Financial Services
1 Dell Way
Round Rock, TX 78682



Dell Financial Services
PO Box 4125
Carol Stream, IL 60197-4125



Dell- 006- Financial Services Payment Pr
PO Box 5292
Carol Stream, IL 60197-5292



Dialpad
Dept. 3808 P.O. Box 123808
Dallas, TX 75312-3808



DISCOUNT TIRE CO
P.O. Box 29851
Phoenix, AZ 85038-9851



Dixieland - South Texas Maint. & Rentals
 1325 Dixieland Rd
Harlingen, TX 78552



Doris Brown
200A N. Rogers St.
Waxahachie, TX 75165



Doris Campbell
4718 Muirfield Ave
San Angelo, TX 76904
Doris Hefner
9312 Prince William
Austin, TX 78730-3422



DUTTON DRIVE 3.44 LTD - Bearden Manageme
 223 Hull Lane
Sugarland, TX 77498



Edith Williams
2521 Park Row Ave.
Dallas, TX 75418



Edward Berdon
7716 Lone Moor Circle
Dallas, TX 75248



Efax.com
PO Box 51873
Los Angeles, CA 90051-6173



EIN Capital, Inc.
160 Pearl Street, Floor 5
New York, NY 10005



Elizabeth Russell
1744 Honeydale Rd.
Brownsville, TX 78520



EMD Millipore
25760 Network Place
Chicago, IL 60673



Emergent Connect
2121 Lohman's Crossing Suite 504
Lakeway, TX 78734
Enterprise Fleet Management
P.O. Box 800089
Kansas City, MO 64180-0089



Everest




First Chatham Bank
6515 East 82nd St., Ste. 209
Indianapolis, IN 46250



Fisher Healthcare
P.O. Box 404705
Atlanta, GA , 30384-4705



Fora




FP Mailing Solutions
PO Box 157
Bedford Park, IL 60499-0157



GEHA Insurance
P.O. Box 410014
Kansas City, MO 64179



GoVoip
2104 Roosevelt Dr Ste F
Arlington, TX 76013



Grande Communications Network
PO BOX 679367
Dallas, TX 75267-9367
Great America Financial Services
625 First Street
Cedar Rapids, IA 52401-2030



Green




GTR Source, LLC
1006 Monmouth Ave.
Lakewood, NJ 08701



Gulf Towers Houston LLC
11661 San Vicente Blvd., Ste 800
Los Angeles, CA 90049



Helen Dunhavin
2626 CO RD 3104
Greenville, TX 75402-8864



Henry Schein
Dept CH 10241
Palatine, IL 60055



Heraclia Gomez
43006 Olsen Blvd.
Amarillo, TX 79106



High Speed Capital
30 Broad Street, 14th Floor
Suite 1462
New York, NY 10004


Hop Capital
1022 Avenue M
Brooklyn, NY 11230
Interchange Solutions - Sales Now
8966 Woodbine Avenue Suite 100
Markham, Ontario L3R 0J7 Canada



Jaken Medical, Inc
14279 Fern Ave.
Chino, CA 91710



Jannis Sibley
1691 Mount Zion Road
Midlothian, TX 76065



Johnnie Judge
626 Reuben White Dr.
Crosby, TX 77532-6953



Josefa Martinez
1929 King Arthur St.
Eagle Pass, TX 78852



Joseph Calta
2500 State Hwy 121, Apt 418
Euless, TX 76039-6011



Joseph Swiderski
1129 N. Minnesota Ave T-26
Brownsville, TX 78521



Joyce Stephens
1609 Mallard
Rockport, TX 78382



Juanita Hill
224 Pine Crest Drive
Conroe, TX 77301
Judah Reed LLC Real estate and Property
P.O. Box 51
El Paso, TX 79940



Knight Capital Funding
9 E. Loockerman St., Suite 3A-543
Dover, DE 19901



Konica Minolta Medical Imaging
10897 5505 N Cumberland Ave, Ste 307
Chicago, IL 60656-1471



La Quinta Inn & Suites Amarillo Airport
9305 East I-40
Amarillo, TX 79118



La Quinta Inn & Suites Austin 0937
11901 North MOPAC
Austin, Tx 78759



La Quinta Inn & Suites Austin Airport
7625 E. Ben White Blvd.
Austin, TX 78741



La Quinta Inn & Suites Austin Southwest
4424 South Mopac
Austin, TX 78735



La Quinta Inn & Suites Brownwood
103 Market Place
Brownwood, TX 76801



La Quinta Inn & Suites Cedar Park
1010 E Whitestone Blvd
Cedar Park, TX 78613
La Quinta Inn & Suites El Paso
7944 Gateway East
El Paso, TX 79915



La Quinta Inn & Suites Galveston
1402 Seawall Blvd
Galveston, TX 77550



La Quinta Inn & Suites Houston Hobby
8776 Airport Blvd.
Houston, TX 77061



La Quinta Inn & Suites Jacksonville
1902 S. Jackson Street
Jacksonville, Tx 75766



La Quinta Inn & Suites Laredo
7220 Bob Bullock Loop 20
Laredo, TX 78041



La Quinta Inn & Suites Lawton
1408 NW 40th Street
 Lawton, Ok 73505



La Quinta Inn & Suites Longview
La Quinta Inns & Suites 908 E. Hawkins P




La Quinta Inn & Suites Lubbock
4115 Marsha Sharp Fwy
Lubbock, TX 79407



La Quinta Inn & Suites Lubbock North
5006 Auburn
Lubbock, TX 79416
La Quinta Inn & Suites Paris
3205 NE Loop 286
Paris, TX 75460



La Quinta Inn & Suites S. Grand Prairie
2131 West I-20
Grand Prairie, TX 75052



La Quinta Inn & Suites SA Airport
850 Halm Blvd
San Antonio, TX 78216



La Quinta Inn & Suites Tyler University
2552 S. Southeast Loop 323
Tyler, Tx 75701



La Quinta Inn & Suites- Arlington Sout
4001 Scots Legacy Dr.
Arlington, TX 76011



LabSoft, Inc.
2202 N. West Shore Suite 115
Tampa, FL 33607



Lark Group & Associates, LLC
120 66th Avenue SW
Vero Beach, FL 32968



Lavern Myers
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Leaf, LLC
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Webster, TX 77598



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Liaison Technologies, Inc
DEPT AT 952956
Atlanta, GA 31192-2956



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Weatherford, TX 76085



Maverick Industrial
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Weslaco, TX 78596
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MedPost Urgent Care- Goliad
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Met Life
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Metro Uniforms/Scrubs
7775 N. Macarthur Blvd. Suite 120
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Mirion Technologies
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Laredo, TX 78041



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National Association of Portable X-Ray
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National Mobile Xray
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Pure Water Partners
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Quest Diagnostics - CMMS Lab




Quidel Corporation
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Ron Wright, Tax Assessor-Collector




Ronald Johnson
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RTR




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Scanlan, Buckle & Young, P.C.
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Sonoquick LLC
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Speciality Metals
1747 Rock Island Road
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Specialty Physicians of Central Texas In
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Technology Two Inc.
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TXU Energy-5789
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UnitedHealthcare Insurance Company
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San Antonio, TX 78229-4493



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Victoria Retail Group LLC
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